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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 20-cv-01169-RM-SKC

  ANNETTE RIOS; and
  THE ESTATE OF SERGIO RIOS,

         Plaintiffs

  v.

  AMERICAN GENERAL LIFE AND ACCIDENT INSURANCE COMPANY; and
  AMERICAN INTERNATIONAL GROUP, INC.,

        Defendants
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         This matter is before the Court on Plaintiffs’ Unopposed Motion to Amend Complaint

  (ECF No. 25), seeking to replace Defendant American General Life and Accident Insurance

  Company with American General Life Insurance (“AGL”). Upon review of the motion and court

  record, the Court finds and orders as follows.

         This matter was removed to this court based on diversity jurisdiction among the named

  parties. (ECF No. 1.) The Court’s review of the proposed amended complaint, however, shows it

  fails to sufficiently allege that diversity jurisdiction exists with AGL as the defendant. On the

  contrary, Plaintiffs allege only that AGL has a mailing address in Texas and a registered agent in

  Colorado. (ECF No. 25-1, ¶¶ 3, 6.) Nonetheless, the Court has considered the Notice of Removal

  and Defendants’ affirmative representation in the Notice that AGL is a Delaware corporation

  with its principal place of business in Texas. (ECF No. 1, ¶ 7.) Accordingly, the Court finds the

  Notice together with the proposed amended complaint plausibly allege facts establishing
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  diversity jurisdiction exists. See Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S.

  81, 89 (2014) (defendant’s notice of removal need only plausibly allege amount in controversy

  exceeds jurisdictional threshold). Accordingly, it is ORDERED:

         (1) That, pursuant to the Stipulation to Dismiss American International Group, Inc. (ECF

             No. 24), the Clerk shall terminate Defendant American International Group, Inc. from

             this action;

         (2) That the Unopposed Motion to Amend Complaint (ECF No. 25) is GRANTED; and

         (3) That, by Monday, November 9, 2020, Plaintiff shall file a clean copy of the Amended

             Complaint (ECF No. 25-1).

         DATED this 6th day of November, 2020.

                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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